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                         IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF COLORADO
                             JUDGE CHRISTINE M. ARGUELLO


   Criminal Action No. 18-cr-00202-CMA-GPG-02

   UNITED STATES OF AMERICA,

           Plaintiff,

   v.

   2. ANGELA SCHMID,

           Defendant.


                   ORDER DENYING MOTION TO WITHDRAW GUILTY PLEA
                            AND MOTION TO DISMISS CASE


           This matter is before the Court on three motions filed by Defendant Angela

   Schmid:

        (1) Angela Schmid’s Motion to Withdraw Her Guilty Plea Prior to Sentencing

           (“Motion to Withdraw Guilty Plea”) (Doc. # 471); and

        (2) Angela Schmid’s Motion to Dismiss Federal Case #18CR202 Based on the

           Govt’s Outrageous Conduct (“Motion to Dismiss”) (Doc. # 472).

   The motions are denied for the following reasons.

                                    I.     BACKGROUND

           In 2018, Defendant Angela Schmid was charged with distribution of 5 grams or

   more of methamphetamine in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(B)(viii).

   (Doc. # 1). Her trial was originally scheduled to begin on July 2, 2018. (Doc. # 26).

   However, as a result of numerous continuances, the trial was delayed for over three

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   years. The trial was ultimately set to begin on July 19, 2021. (Doc. # 411). Shortly

   before the July 19 trial, however, Ms. Schmid filed yet another request for continuance.

   (Doc. # 445). The Court denied Ms. Schmid’s motion in a written order on July 6, 2021.

   (Doc. # 446). Later that day, Ms. Schmid filed a notice of disposition. Ms. Schmid pled

   guilty to Count 6 of the indictment on July 8, 2021. (Doc. # 451). Ms. Schmid then

   requested reconsideration of the Court’s order denying her request for a continuance,

   (Doc. # 454), which the Court denied in a written order.

            Ms. Schmid now seeks to withdraw her guilty plea, (Doc. # 471), and she

   requests dismissal of all charges against her (Doc. # 472). The motions are denied.

                           II.    MOTION TO WITHDRAW GUILTY PLEA

            Rule 11(d)(2)(B) of the Federal Rules of Criminal Procedure provides, in relevant

   part, that a defendant may withdraw a plea of guilty after the court accepts the plea 1 but

   before it imposes sentence if “the defendant can show a fair and just reason for

   requesting the withdrawal.” The burden of demonstrating a fair and just reason rests

   with the defendant, based on consideration of the following factors: (1) the defendant’s

   assertion of innocence; (2) the resulting prejudice to the government; (3) the

   defendant’s delay in filing the withdrawal motion; (4) the inconvenience to the court; (5)

   defendant’s assistance of counsel; (6) the knowledge and voluntariness of the plea; and

   (7) the resulting waste of judicial resources. United States v. Hamilton, 510 F.3d 1209,

   1214 (10th Cir. 2007). Specifically, the Tenth Circuit has explained that the “primary

   considerations for determining whether a fair and just reason exists are whether the

   defendant (1) knowingly and voluntarily pled guilty, (2) had assistance of counsel


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       The Court accepted Ms. Schmid’s plea of guilty at the hearing on July 8, 2021.
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   relating to the decision to plead guilty, and (3) has asserted his innocence.” United

   States v. Lee, 535 Fed. App’x. 677, 680 (10th Cir. 2013) (unpublished). “If the defendant

   demonstrates a fair and just reason for withdrawing his guilty plea, the court may also

   consider systemic burdens” – i.e., the other four other factors, including “prejudice to the

   government, timing of the motion, inconvenience to the court, and waste of judicial

   resources.” Id. at 680, n. 3. Ms. Schmid has failed to meet this burden.

          With respect to the first Lee factor, it is evident from the record that Ms. Schmid

   knowingly and voluntarily pled guilty. First, Ms. Schmid confirmed at her change-of-plea

   hearing that she was mentally competent and capable of entering a guilty plea:

                        THE COURT: Do you have any trouble reading or
                 writing in English?

                        THE DEFENDANT: No, Your Honor.

                        THE COURT: Are you now under the influence of any
                 drug, narcotic, marijuana, or alcohol?

                        THE DEFENDANT: No, Your Honor.

                       THE COURT: Are you under the influence of any type
                 of medicine?

                        THE DEFENDANT: No, Your Honor.

                       THE COURT: Have you taken any drugs, alcohol, or
                 medicine in the last 3 days?

                        THE DEFENDANT: No, Your Honor.

                         THE COURT: Is there anything at all about how you
                 feel right now, either physically or emotionally, that
                 prevents you from understanding what is happening in this
                 hearing?

                        THE DEFENDANT: No, Your Honor.



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   (Court’s Unofficial Transcript of Change of Plea Hearing, July 7, 2021 (hereinafter

   “Transcript”) at pp. 7-8). Next, Ms. Schmid was advised of her rights and affirmed that

   she understood those rights:

                        THE COURT: All right. Now, Ms. Schmidt I need to
                make sure you understand that you have a number of legal
                rights so I am going to go through those with you. You
                have the following constitutional rights that you will be
                giving up if if you plead guilty.

                       You have the right to plead not guilty to any offenses
                charged against you. Because you have already entered a
                plea of not guilty to these charges in the Indictment you have
                the right to maintain those pleas of not guilty.

                      You have the right to a speedy and public trial. You
                have the right to a trial by a jury of 12 persons whose verdict
                must be unanimous. At trial, you would be presumed
                innocent and the Government would have to prove your guilt
                by proving each element of each charge against you beyond
                a reasonable doubt.

                         If both you and the Government give up your right to a
                jury trial, you have the right to be tried by the Court; that
                means by me as the judge, and that is what did you in this
                case, you gave up your right to a jury trial and you would be
                going to trial on the 19th if you didn't enter this plea before
                me as the judge.

                       You have the right to have competent and effective
                assistance of a lawyer throughout these criminal
                proceedings, and if you could not afford a lawyer one
                would be appointed to represent you free of charge. And
                that lawyer would assist you at trial and at every other
                stage of these criminal proceedings.

                        Now, in this case, you gave up your right to
                appointed counsel and you wished to proceed pro se but the
                Court did appoint Mr. Weisz as your advisory counsel. At
                trial you would have the right, with the assistance of
                your lawyer, to confront and cross-examine all witness and
                to challenge all evidence presented against you. Again,



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                  because you were proceeding pro se you would be doing
                  that on your own but you would have Mr. Weisz as advisory
                  counsel.

                         At trial, you would have the right to have witness
                  subpoenaed and made to come into court to testify on your
                  behalf. And if you could not afford to pay for those
                  subpoenas I would order that they be issued and served
                  without any charge to you.

                         Again, in this case, you have requested subpoenas
                  be issued and I have order they be issued owned your
                  behalf no charge to you.

                          At trial you would have the right to testify
                  yourself on your own behalf, but you also have the
                  privilege against self incrimination; that means that you
                  have the right not to testify or make any statement that
                  would incriminate you in any way.

                          If you went to trial and you decided not to
                  testify, I would -- well, in this case, we are not having
                  a jury trial so I don't need to get into that I normally
                  tell the jury they could not use your decision not to
                  testify against you in any way. If you went to trial and
                  you were convicted you would have the right to appeal your
                  conviction and even though you are pleading guilty, you
                  would also have the right to appeal the sentence that I
                  impose.

                         Do you understand all of these rights?

                         THE DEFENDANT: I do, Your Honor, thank you.

   (Transcript, pp. 10-12).

   Ms. Schmid then stated, on the record, that willingly waiving these rights to enter a

   guilty plea:

                          THE COURT: And do you understand that by entering
                  into this plea agreement, you are giving up your right to
                  appeal or otherwise challenge your prosecution, conviction
                  and sentence under the circumstances that are outlined in
                  your plea agreement.

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                          THE DEFENDANT: Yes.

                          THE COURT: Do you understand that if I accept your
                  plea of guilty, you will be incriminating yourself and you
                  will [have] given up, now and forever, your right to a jury
                  trial and most of the rights I have just described to you?

                          THE DEFENDANT: Yes, Your Honor.

                          THE COURT: Do you give up these rights?

                          THE DEFENDANT: I do.

   (Transcript, p. 13).

   Ms. Schmid further stated that she understood the consequences of her

   guilty plea:

                         THE COURT: So, Ms. Schmidt do you understand the
                  consequences to you of entering this plea of guilty,
                  including the maximum sentence I could impose?

                          THE DEFENDANT: Yes, Your Honor.

   (Transcript, pp. 14-15).

   Finally, Ms. Schmid affirmed that her guilty plea was knowing and
   voluntary:

                        THE COURT: All right. Has anyone made any
                  promises, representations, or guarantees of any kind to
                  you about the specific sentence I would impose in order to
                  persuade you to plead guilty?

                          THE DEFENDANT: No.

                          THE COURT: Has anyone forced you to plead guilty?

                          THE DEFENDANT: No.

                         THE COURT: Has anyone attempted in anyway to
                  threaten you, your family, or anyone close to you in order
                  to force you to plead guilty?

                          THE DEFENDANT: No. (Tr. p. 21)
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                       THE COURT: Have you understood everything I have
                 asked of you up to this point.

                          THE DEFENDANT: Yes, Your Honor.

                        THE COURT: Do you understand the consequences
                 to you of entering this plea of guilty?

                          THE DEFENDANT: I do.

                       THE COURT: Do you believe you are competent to
                 make the decision to plead guilty?

                          THE DEFENDANT: I do.

                          THE COURT: Do you understand that all that will be
                 left in your case in the event I do accept your plea of
                 guilty is the imposition of sentence which will include
                 imprisonment?

                          THE DEFENDANT: Yes.

                        THE COURT: Having in mind then everything we
                 have discussed up to this point regarding your pleas of guilty
                 the rights you are giving up and maximum sentence I could
                 impose do you still wish to plead guilty?

                          THE DEFENDANT: I do.

   (Transcript, p. 22).

   Additionally, Ms. Schmid asked questions during the hearing, further demonstrating her

   ability to understand and inquire about the consequences of her guilty plea. (Tr. p. 20).

   She also gave authorization to her advisory counsel to sign the Statement in Advance of

   Guilty Plea (Doc. # 453), in which Ms. Schmid acknowledged, in writing, that she

   understood the rights she was waiving and that she was entering her guilty plea

   knowingly and voluntarily.




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          In light of Ms. Schmid’s repeated statements affirming that she was competent;

   that she understood her rights; that she understood the charges against her and the

   possible penalties; and that she was willingly pleading guilty, the Court finds that the

   first Lee factor favors denying Ms. Schmid’s Motion to Withdraw Guilty Plea.

          With respect to the second Lee factor, assistance of counsel, it is clear from the

   record that Ms. Ms. Schmid had access to the assistance of counsel with respect to her

   decision to plead guilty. Although Ms. Schmid knowingly and voluntarily waived her right

   to assistance of counsel in 2019, (Doc. # 98, 104), she was appointed advisory counsel,

   who discussed the plea agreement with Ms. Schmid and was available to answer any

   questions she may have had (Tr. pp. 4-12). Thus, the second Lee factor weighs against

   allowing Ms. Schmid to withdraw her guilty plea.

          With respect to the third Lee factor, assertion of innocence, the Court finds that

   although Ms. Ms. Schmid is now claiming innocence, she repeatedly confessed her guilt

   at the change-of-plea hearing and in subsequent filings:

                        THE COURT: . . . So, Ms. Schmidt [sic], it is my
                 understanding that pursuant to the plea agreement you want
                 to enter a plea of guilty to Count 6 of the Indictment which
                 charges violation of 21 United States Code Section 841(a)(1)
                 and (b)(1); distribution of 5 grams or more [ ] of
                 methamphetamine actual; is that correct.

                        THE DEFENDANT: Count 6, yes, ma’am.

   (Transcript, pp. 3-4).

                        THE COURT: Do you understand that you just took
                 an oath to tell me the truth and if you answer any of my
                 questions falsely here today your answers could be used
                 against you in a separate prosecution for perjury or
                 making a false statement?

                        THE DEFENDANT: Yes, Your Honor.
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                         THE COURT: Do you understand that you have the
                 right to remain silent and you do not have answer any of
                 my questions here today?

                       THE DEFENDANT: Okay, thank you, yes, Your
                 Honor.

   (Transcript, pp. 6-7)

                        THE COURT: Are you pleading guilty because you
                 are guilty?

                           THE DEFENDANT: So, the -- yes, Your Honor.

                        THE COURT: All right. I need you to tell me, with
                 respect to count -- the count you are pleading guilty to,
                 what it is you did.

                      THE DEFENDANT: On Count 6? I gave 43 grams of
                 methamphetamine to Cody Lee.

   (Transcript, p. 10).

          Ms. Schmid then reaffirmed her admission of guilt in her Plea Agreement, in

   which she conceded that “there is a factual basis for the guilty plea” and described her

   criminal conduct (Doc. # 452, pp. 6-9); and in her Motion for Reconsideration, in which

   she stated, “I convict myself . . . . [T]hose things . . . did happen,” (Doc. # 454, p. 4), and

   averred, “It is not my intention to withdraw my guilty plea.” (Doc. # 454, p. 1). Therefore,

   the Court finds that the three Lee factors favor denial of Plaintiff’s Motion to Withdraw

   her guilty plea.

          Further, the Court finds that the remaining Hamilton factors weigh in favor of

   denying Ms. Schmid’s motion. Ms. Schmid has had ample opportunity to prepare a

   defense and to consider the consequences of her guilty plea. Allowing her to withdraw




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    the plea at this late date – just two weeks before her sentencing hearing – would

    prejudice the government, inconvenience the Court, and waste judicial resources.

           Ms. Schmid argues, however, that the Court’s “denial of my motion to continue

    [trial] coerced my guilty plea.” (Doc. # 471, p. 1). This claim is belied by the record.

           This case has been pending since March 26, 2018, and Ms. Schmid has been

    representing herself, with the assistance of advisory counsel, since January 10, 2019.

    (Docs. # 1, 104). Thus, Ms. Schmid has had two and a half years to prepare for trial.

    When the Court denied Ms. Schmid’s most recent motion to continue the trial date for

    an additional three months (Doc. #445), the Court was aware that Ms. Schmid had a

    pattern of behavior in which, approximately two weeks prior to trial, she would get cold

    feet and would file a motion requesting additional time to prepare. (See, e.g. Doc. #386,

    February 16, 2021 Motion requesting 90 day continuance of trial set for March 1, 2021,

    and Doc. #411, May 4, 2021 Motion requesting a 60 day continuance of Trial set for

    May 24, 2021). Ms. Schmid fails to explain how the Court’s refusal to grant yet another

    last-minute continuance “coerced” her to plead guilty. To the contrary, the Court

    repeatedly advised Ms. Schmid that she was not required to plead guilty, and Ms.

    Schmid’s responses to the Court’s advisements demonstrate that she understood that

    she was under no obligation to plead guilty. Ms. Schmid fails to point to any evidence in

    the record to suggest the Court “coerced” her to plead guilty. Therefore, Ms. Schmid’s

    Motion to Withdraw Guilty Plea must fail.

                                   III.   MOTION TO DISMISS

           Ms. Schmid next seeks dismissal of the indictment. This Motion is denied as

    moot. Ms. Schmid has already pled guilty to one of the counts charged in the

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    indictment, and she has knowingly and voluntarily waived the right to challenge this

    prosecution. (Doc. # 452). Ms. Schmid offers no authority to suggest that the Court can

    dismiss the indictment after a guilty plea has already been entered.

           Further, the Court has already considered and rejected two prior motions to

    dismiss the indictment (See Doc. # 333). Ms. Schmid offers no explanation of how her

    current motion differs from her prior motions or why a third dismissal motion is

    warranted.

           Moreover, even if Ms. Schmid’s motion were not moot, untimely, and unjustified,

    it would nevertheless fail for lack of support. Ms. Schmid’s motion consists almost

    entirely of unsupported accusations that the Government’s witnesses lied to the grand

    jury. If Ms. Schmid wished to challenge the credibility of the Government’s witnesses,

    she could have done so through cross-examination at trial. Instead, she elected to

    waive her right to a trial and to accept a plea deal. In so doing, she forfeited the

    opportunity to cross-examine the Government’s witnesses. Thus, Ms. Schmid’s

    unsupported, last-minute credibility challenge must fail.




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                                   IV.    CONCLUSION

          For the foregoing reasons, Angela Schmid’s Motion to Withdraw Her Guilty Plea

    Prior to Sentencing (Doc. # 471) and Angela Schmid’s Motion to Dismiss Federal Case

    #18CR202 Based on the Govt’s Outrageous Conduct (“Motion to Dismiss”) (Doc. # 472)

    are both DENIED.

          DATED: October 27, 2021

                                                  BY THE COURT:

                                                  _____________________________
                                                  CHRISTINE M. ARGUELLO
                                                  United States District Judge




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